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            IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         PINE BLUFF DIVISION

                         THIS IS A CAPITAL CASE


ALVIN BERNAL JACKSON                                                 PETITIONER


                             No. 5:03-CV-00405 SWW



LARRY NORRIS, Director,                                               RESPONDENT
Arkansas Department of Correction,


                           JUDGMENT and DECREE

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that the petition of Alvin Bernard Jackson is

GRANTED on his claim that he is ineligible for execution by reason of intellectual

disability. Petitioner Jackson’s conviction for capital murder remains, but his

death sentence is set aside, and the State must change his penalty to life

imprisonment without parole.

      IT IS SO ORDERED THIS 23RD DAY OF MARCH, 2020.


                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
